Case 2:08-cr-00056-PLM                 ECF No. 161, PageID.601      Filed 10/06/09      Page 1 of 2




                                 UNITED STATES OF AMERICA
                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION




UNITED STATES OF AMERICA,

                          Plaintiff,                   Case No. 2:08-cr-56-02

v.                                                     HON. ROBERT HOLMES BELL

PATRICK MICHAEL KING,

                  Defendant.
____________________________________/


                                REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on October 6, 2009, after receiving the written consent of defendant and all counsel. At the

hearing, defendant PATRICK MICHAEL KING entered a plea of guilty to Count One of the

Indictment, charging defendant with Conspiracy to Distribute and Possess with Intent to Distribute

50 Grams or More of a Mixture or Substance Containing a Detectable Amount of Cocaine Base

(Crack) in violation of 21:846, 841(a)(1) and 841(b)(1)(A)(iii), in exchange for the undertakings

made by the government in the written plea agreement. On the basis of the record made at the

hearing, I find that defendant is fully capable and competent to enter an informed plea; that the plea

is made knowingly and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises, apart from the promises in the plea

agreement; that the defendant understands the nature of the charge and penalties provided by law;

and that the plea has a sufficient basis in fact.
Case 2:08-cr-00056-PLM              ECF No. 161, PageID.602              Filed 10/06/09       Page 2 of 2




                 I therefore recommend that defendant's plea of guilty to Count One of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. The order setting conditions of defendant’s

release shall remain in effect until November 10, 2009, at which time defendant shall self surrender

as directed by his pretrial services officer. Acceptance of the plea, adjudication of guilt, acceptance

of the plea agreement, determination of defendant's status pending sentencing, and imposition of

sentence are specifically reserved for the district judge.



Date: October 6, 2009                                          /s/ Timothy P. Greeley
                                                             TIMOTHY P. GREELEY
                                                             United States Magistrate Judge



                                         NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                                  - 2 -
